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Exhibit J
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Page 1
1 UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW
2 JERSEY CIVIL ACTION
NO.3:20cv-13509
3
ANDREW RITZ AND MICHAEL RITZ,
4
Plaintiffs,
5 Deposition of:
MICHAEL RITZ
_vs-
7
NISSAN INFINITI, TRANS UNION,
8 LLC, EQUIFAX INFORMATION
SERVICES AND EXPERIAN
9 INFORMATION SOLUTIONS, INC.,
10 Defendant.
aL | | a
12
13
14 ji BEFORE: LISA R. GENTEMPO, a Certified
15 Court Reporter of the State of New Jersey, at the
16 offices of VERITEXT VIRTUAL, on SEPTEMBER 9, 2021
17 commencing at 11:30 a.m. pursuant to Notice.
18
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1 Q. How did you dispose of that car sir, was
2 it turned in for another vehicle?

3 A. I believe it was an accident.

4 QO. Okay.

5 A. It was totally damaged.

6 Q. Okay, and did you receive insurance

7 payments for that vehicle?

8 A. Yes.

9 Q. Had you purchased or leased any other

10 vehicle prior to that?

il A. No.

12 Q. The prior Nissan, had you dealt with DCH
13 Freehold also, or did you purchase from another

14 dealership?

15 A. I purchased from another dealership.

16 Q. Okay. You never leased a vehicle before
17 this 2017 Sentra?

18 A. Right.

19 Q. What vehicle do you currently drive sir?
20 A. The Toyota.

21 QO. The 2003 Toyota?
22 A. Yes.
23 Q. Sir, do you know whether or not, do you
24 know what your present credit score is?
25 A. Approximately what I recall?

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1 Q. Yes. What do you recall to the best of

2 your recollection?

3 A. Approximately 738, 740.

4 QO. When was the last time you checked that?
5 A. Recently, I received an email

6 from credit karma?

7 Q. Okay.

8 A. Telling me that my score had gone

9 up. I would say within with the last two months.
10 Q. Do you know whether or not your credit
11 score decreased as a result of the allegations

12 | asserted in this complaint?

13 A. Yes.

14 Q. By how much did your credit score

15 decrease?

16 A. To the mid 600.

17 Q. You state that most recently your credit
18 score is in the 7's?

19 A. Yes.
20 Q. Do you have any credit cards?
21 A. Yes.

22 Q. How many credit cards are in your name?
23 A. I have five.

24 QO. As a result of this experience with DCH
25 | Freehold, were you ever denied a credit card?

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1 A. No.

2 QO. Let's say from August 2019 to the

3 present date, August 2019 being the vehicle that
4 you assert, the date you assert the vehicle

5 | should have been turned in, until the present

6 time, have you ever been denied any application

7 for credit?

8 A. No.

9 Q. Have you attempted since that time to
10 apply for a loan?

11 A. I refinanced my home in 2019, and then
12 again in 2021.
13 Q. You were able to refinance?
14 A. Yes.

15 Q. In 2019, do you remember when you

16 attempted to refinance the home, do you remember
17 | the month, before or after August?

18 A. Yes, it was probably, I can't recall the
19 date, I can't recall the date.
20 Q. But you would say it was after
21 August 2019?
22 A. I can't be sure. I don't recall.
23 I have it written down if you want me to check.
24 QO. Do you believe it was closer to the end
25 | of the year?

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A. I'm not sure.
Q. Okay. Have you at any time attempted to
obtain any sort of employment since August of
2019?
A. No.
QO. Sir, since August 2019, were you denied

any sort of credit opportunities that you wanted
to pursue?
A, I was not denied.

QO. Sir, I would like to share the screen
with you just for point of reference. The screen
may change on you. Sir, do you see I'm sharing
the screen with you, there should be a document
on your screen responses to Nissan's first set of
Interrogatories Michael Ritz. Does this look |
familiar to you?

A. Yes.

Q. I'm going to turn to page 16, these are
Answers to Interrogatories. On page 16 here, at
the top, you mention that you had gone through
some financial difficulties earlier on. Can you
just give me some background as to those
occurrence's sir, to fill in some of the gaps?

A. How it came about?

Q. Yes, sir.

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1 A. I was let go from a position that I had,
2 and I could not find any employment. You know,

3 after that, I was having a difficult time. And

4 that is how we wound up, well, I could not keep

5 up, we had two cars, lived in a condo, I could

6 not keep up the rent. And I could not keep up

7 the car payments. I lost the cars. I was

8 evicted from the condo. And, that is how we wound
9 up homeless.

10 QO. Did you live anywhere afterwards, or
11 were you out of --
12 A. I was fortunate enough my son helped me
13 out a little bit, we were able to stay in motels
14 | on occasion. I was able to stay at my mother's

15 apartment on weekends. We had a friend who rented
16 a car for us. So we were able to sleep in the car
17 when necessary. And use the car to take care of
18 some of our things that we had to pursue.
19 QO. Sir, when do you recall the date or the
20 year of when you purchased your first home after
21 these events?
22 A. I bought this unit, I was renting here
23 until 2015, when I purchased it. Nothing since
24 then other than the refinancing.
25 | QO. Okay. Since August of 2019, as a result |

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1 of these allegations, have you sustained any
2 financial loss?
3 A. No.
4 Q. I'm going to turn to the shared
5 screen, page 18 sir, there's a table there, title
6 non -- pecuniary damages. In that table there's
7 several descriptions there including loss of
8 sleep, nervousness, frustration, and so forth.
9 Did you ever seek any sort of medical attention
10 for these issues?
11 | A. No, I did not.
12 | Q. Did you seek any type of counseling or
13 therapy for any of these issues?
14 A. No.
15 Q. Any sort of medical attention for loss
16 of sleep or psychiatric assistance for any of
17 these issues?
18 A. No.
19 QO. Were you ever on any medication to
20 resolve any of these issues, or placed on any
21 medication for purposes after all of this
22 transpired?
23 A. No, I was already on medication, I was
24 taking Prozac for a number of years. Did not
25 increase it, no change.

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1 Q. Okay sir. You mention on here just

2 injury to reputation, can you please describe

3 what you mean by that sir?

4 A. When this whole thing started in August
5 when we brought the car back it was a very

6 embarrassing situation, you know. It upset both
7 my son and me, it upset him more. And since he

8 was upset, I became more upset by the way that we
9 were treated and how the thing was coming about.
10 Q. You mention injury to family work and
11 sense of well being. Can you provide some

12 description about how these events impacted your
13 family work and sense of well being?

14 A. Since I had the homelessness 25 years
15 ago and I lost the everything, and I had no

16 credit report, no credit score, checking account,
17 Savings account, I had absolutely nothing. And
18 it took me a number of years to get back on my

19 feet and established to where I was able to buy a
20 home. And get credit cards, and, have, you know,
21 a little cash in the bank. And when this whole

22 thing arose, I just had that fear again that I
23 | don't want to go back to what happened to me
24 | years ago.
25 Oo. Okay.

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1 A. So, I had that anxiety and fear about it
2 happening again, are these things going to work
3 out, and the normal anxiety that come from all of
4 the stress.
5 QO. And sir, you also claim damages, future
6 damages for continuing violation. What sort of
7 future damages do you feel you incurred as a
8 result of this action?
9 A. I was thinking along the lines of,
10 you know, this was to continue, and not getting
11 settled, how it would affect me in the future as
12 far as refinancing, or obtaining any other
13 credit.
14 Q. But you have testified that as of today,
7s) your credit score has increased from where it
16 | was?
17 A. Yes.
18 Q. Have you ever sued anyone else under the
19 fair credit reporting act?
20 A. No.
21 Q. Have you ever had any other disputes
22 with any other lenders or finance companies that
23 you can recall?
24 A. Yes.
25 Q. Can you provide details please?

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1 A. I know I have had disputes, I can't

2 recall exactly who or when it was. I'm sorry I

3 can't recall.

4 Q. Okay. Have you filed any complaints

5 against any other finance companies or lenders?
6 A. No.

7 Q. So, this is the only instance ever,

8 where you have filed a form judicial complaint

9 against a lender and finance company?

10 A. Right.

11

12

13 (A brief recess was taken.)

14
15
16 QO. Mr. Ritz, just a few follow-up questions
17 | and we are finished. You had mentioned that you
18 refinanced your home at the end of 2019. Do you
19 recall who the lender was with whom you
20 refinanced?

21 A. Yes, I believe my mortgage company is
22 PennyMac Mortgage.

23 Q. Do you recall how much was financed?
24 - A. I don't recall the amount.

25 | Q. Okay. Do you recall the rate that you

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1 received?
2 A. Yes, I believe it was 4.75. And then it
3 was refinanced again last year. They gave me a
4 1.99 percentage. That is why I went ahead and did
5 it.
6 Q. That was also through PennyMac sir?
7 A. Yes.
8 Q. Sir, did you look, I'm going to share
9 the screen again quickly. Sir, these are your
10 answers to Interrogatories. If you look on
11 page 17, you note that you have time expended in
12 disputing errors. Do you recail how much time
13 you spent in disputing errors in this case?
14 A. I could not estimate, no.
15 QO. I have no further questions for Mr.
16 Ritz, and I thank you for your time sir.
17 (The deposition was adjourned at
18 > 12:28 p.m. )
19 |
MICHAEL RITZ
20
21 Subscribed and sworn to before me
22 this __ day of , 2021.
23
24 Notary public
25

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